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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION


SIEMENS INDUSTRY, INC.
                                                                         PLAINTIFF/
                                                                 COUNTER-DEFENDANT

       vs.                      NO. 5:15-cv-00127 DPM/JTK

CITY OF MONTICELLO, ARKANSAS                                             DEFENDANT/
                                                                   COUNTER-PLAINTIFF

       vs.

SIEMENS A.G.                                      ADDITIONAL COUNTER-DEFENDANT



                               CITY OF MONTICELLO’S
                     ANSWER TO THE FIRST AMENDED COMPLAINT
                                         AND
                                   COUNTERCLAIM
                                         AND
                              DEMAND FOR JURY TRIAL
                       _________________________________________

       Comes now the City of Monticello, Arkansas (herein the “City”), by and through its

attorneys, Gibson & Keith, PLLC, and the Barton Law Firm, and for its Answer to the First

Amended Complaint, Counterclaim, Third-Party Complaint, and Demand for Jury Trial herein,

states as follows:

                       ANSWER TO FIRST AMENDED COMPLAINT

       1.      The City admits that Siemens Industry, Inc. (herein “Siemens Industry”) is a

Delaware corporation.


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       2.      The City admits that it is a municipality in the State of Arkansas.

       3.      The City admits that this Court has diversity jurisdiction over the parties and the

subject matter of this action.

       4.      The City admits that venue is proper in this Court.

       5.      The City admits that both Siemens Industry and Siemens AG solicited the City to hire

them to replace all of the City’s water meters and a part of the City’s water mains/lines.

Affirmatively, as part of said solicitation their representative Tony Ardillo represented to the City’s

governing Council that Siemens is the 4th largest company in the world – an obvious reference to

the big Siemens AG, not Siemens Industry, and the documents submitted by Mr. Ardillo to the City

as part of said solicitation included the financial statements and other information of Siemens AG,

not Siemens Industry, and he also submitted Powerpoint slides to the City’s governing Council

which were plainly marked with the name Siemens AG, not Siemens Industry. However, when the

contract form was submitted to the City same recited that it was with Siemens Industry and made

no mention of Siemens AG, and with the sleight of hand arising from the deceptive similarity of

names of Siemens Industry and Siemens AG the 4th largest company in the world that the City

thought it was dealing with on the project was not included as a party to the contract submitted to

the City for approval. That is fraud in the inducement.

       6.      The City admits that during said solicitation Siemens Industry and Siemens AG

represented to the City that the City’s existing water meters were only 53.58% accurate.

Affirmatively, on information and belief, that representation was false, and known to be false by

Siemens Industry and Siemens AG, and was made to induce the City to enter into a $10 Million

contract with them to replace all of the City’s existing water meters and to contract with them to


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replace a part of the City’s existing water mains/lines. That was fraud in the inducement.

       7.      The City admits its signing of the contract attached as Exhibit “A” to the Complaint,

and that same provides for replacement of all of the City’s existing water meters and replacement

of part of the City’s water mains/lines. Affirmatively, Siemens Industry and Siemens AG procured

the City’s signing of said contract through fraud including, without limitation, the matters

affirmatively set forth hereinabove.

       8.      The City admits that on October 7, 2014, the City’s governing Council voted to not

proceed with the water main part of the project until the meter replacement phase was properly

completed. Affirmatively, the City had earlier received a letter with a “Siemens” letterhead from

Tony Ardillo which had advised that the “waterline renovation phase shall not commence until both

parties mutually agree upon a said (sic) start date and scope of work.” The City specifically denies

any breach of contract on its part.

       9.      The City denies the allegations of paragraph 9 of the First Amended Complaint.

Affirmatively, the City states that it has recently discovered that neither Siemens Industry nor

Siemens AG nor their subcontractors are properly licensed by the State of Arkansas Contractors

Licensing Board to perform the Municipal & Utility Construction work covered by the contract, or

to perform the Specialty contractor work of Meter Installation & Service covered by the contract.

Simply put, it has been unlawful from the beginning for Siemens Industry and Siemens AG to do

the work it has done under the contract, and Siemens Industry and Siemens AG may not lawfully

engage to do the work remaining to be done under the contract, and under Ark. Code Ann. § 17-25-

103(d) and other applicable law, neither the unlicensed Siemens Industry nor the unlicensed Siemens

AG may bring an action to enforce the contract against the City, and they are further barred from


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seeking a quantum meruit recovery relative to the contract for any work done or materials supplied

by them under the contract.

       10.     The City admits that Siemens Industry and Siemens AG made material

misrepresentations to the City to induce the City to engage them on the subject water utility project.

       11.     The City denies that either Siemens Industry or Siemens AG requested mediation

pursuant the contract, but, instead, wrote an e-mail to the City’s counsel advising that mediation was

an express condition precedent to any litigation, and expressed a willingness to negotiate a

resolution of the problems being experienced by the City.

       12.     The City admits that a mediation between the parties was scheduled and held by

agreement of the parties on April 21, 2015. Affirmatively, Siemens Industry and Siemens AG did

not engage in that mediation in good faith, but, instead, delayed the scheduling of the mediation for

over three (3) months (apparently for litigation purposes), and then attended the April 21st mediation

with the initial Complaint filed in this case in their pocket or possibly filed before or during the

mediation. In other words, Siemens Industry and Siemens AG set up a mediation with no intent to

mediate, but with full reprehensible intention to litigate as evidenced by their filing of this lawsuit

on the same day as the April 21 mediation. The City admits that the feckless mediation of April 21,

2015, did not result in a resolution of any of the disputes and problems existing between the parties.

But for a call from a reporter a week later, the City would not have known that Siemens Industry had

filed the present lawsuit.

       13.     The City denies the allegations of paragraph 13 of the First Amended Complaint.

       14.     The City denies the allegations of paragraph 14 of the First Amended Complaint.

       15.     The City denies the allegations of paragraph 15 of the First Amended Complaint.


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       16.     The City denies the allegations of paragraph 16 of the First Amended Complaint, and

affirmatively states that specific performance is not an available remedy to Siemens Industry.

       17.     The City denies the allegations of paragraph 17 of the First Amended Complaint.

       18.     Each and every material allegation of the First Amended Complaint which have not

been specifically admitted hereinabove are hereby denied.

       19.     In addition to the above-recited affirmative defenses of the City to liability or

responsibility under the contract or otherwise to Siemens Industry, the City further affirmatively

states and asserts the following matters as defenses herein to the extent same apply to the facts of

this matter:

       (1)     fraud, fraud in the inducement, and constructive fraud;

       (2)     breach of the covenant of good faith and fair dealing;

       (3)     estoppel;

       (4)     excuse from the City having to perform under the contract that arises from breaches

               of contract and violations of law committed by Siemens Industry and Siemens AG

               relative to same;

       (5)     immunity of the City from suit;

       (6)     the failure of Siemens Industry and Siemens AG to be properly licensed by the State

               of Arkansas Contractors Licensing Board to perform the work covered by the

               contract;

       (7)     the defective performance of work under the contract by Siemens Industry and

               Siemens AG;

       (8)     breach of warranty of good workmanship under the contract by Siemens Industry and


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       Siemens AG;

(9)    the failure of Siemens Industry and Siemens AG to provide the Hersey water meters

       specified by the contract;

(10)   the furnishing of Sensus water meters instead of the Hersey water meters specified

       by the contract without a change order as required by the contract, and the fraudulent

       attempt to claim that the City’s Mayor Allen Maxwell directed that Sensus meters,

       as opposed to contract-specified Hersey meters, and the failure of the Sensus water

       meters provided to be equal to the contract-specified Hersey water meters;

(11)   the illegality of the contract for failure to comply with competitive bidding laws of

       Arkansas, and its consequent voidness;

(12)   the failure of Siemens Industry and Siemens AG to timely provide legally required

       performance and payment bonds covering the work under the contract, and later

       falsely stating that those bonds had been delivered back in 2013 when they knew that

       same had not been so delivered;

(13)   the failure of Siemens Industry and Siemens AG to provide the legally required

       proper financial assurance that they will pay the City shortages in promised

       efficiency savings from the new water meters, water mains/lines, and other

       improvements covered by the contract, including, without limitation, a Letter of

       Credit for the 10-year life of the contract, Cash in Escrow, Multi-year Surety Bond,

       and/or a Third-Party Credit Rating Agency Verified Investment Grade Corporate

       Guarantee, all as required by Ark. Code Ann. § 14-164-402(15) and other applicable

       law;


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(14)   the illegality of the contract arising from the failure of the contract submitted by

       Siemens Industry and Siemens AG to the City to contain the statutorily required

       terms that they provide the financial assurances of the promised efficiency savings

       as required by Ark. Code Ann. § 14-164-402(15) and other applicable law including

       without limitation a Letter of Credit for the 10-year life of the contract, Cash in

       Escrow, Multi-year Surety Bond, and/or a Third-Party Credit Rating Agency

       Verified Investment Grade Corporate Guarantee;

(15)   the failure of Siemens Industry and Siemens AG to timely provide proper

       manufacturer warranties issued by the manufacturer to the City on the new water

       meters installed in the City, and the continuing failure of Siemens Industry and

       Siemens AG to provide any direct written acknowledgment of the manufacturer that

       the meters actually supplied to the City are covered by warranty;

(16)   the failure of Siemens Industry and Siemens AG to timely provide manufacturer

       recommendations/instructions on the new water meters installed in the City;

(17)   the taking of unfair advantage of the City by Siemens Industry and Siemens AG in

       the days and weeks following the untimely death of the City’s Mayor Allen Maxwell

       on March 10, 2014, including (a) demanding over $4.8 Million in City taxpayer

       funds before any work or material had been provided to the City by Siemens Industry

       and Siemens AG and them obtaining that payment of over $4.8 Million by wire

       transfer from Union Bank of Monticello on the same day as Mayor Maxwell was

       being laid to rest at his funeral at the First Baptist Church of Monticello, (b) waiting

       until after Mayor Maxwell was dead to switch the water meters from the contract-


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       specified Hersey meters to Sensus meters with which the City has experienced so

       many problems; and (c) milking the City for another almost $2 Million in payment

       from a temporary appointed mayor;

(18)   by Siemens Industry and Siemens AG specifically recommending and selling the

       City on being provided with the contract-specified Hersey meters, and then pulling

       a switch to Sensus meters after Mayor Maxwell was no longer around to object to

       such as he had done before;

(19)   by Siemens Industry and Siemens AG falsely representing to the City that “Siemens

       stands behind the products it supplies” when in true and in fact the contract provided

       by them to the City expressly disclaims any warranty on the products they supply;

(20)   by Siemens Industry and Siemens AG preparing and submitting plans to the City for

       complete replacement of water mains/lines in an area of the City where there was no

       need for such, all of which was contrary to the representations and agreements of

       Siemens Industry and Siemens AG that water main/line replacement would be done

       in the “core” of the old part of the City where leaking water mains/lines was an issue;

(21)   on information and belief, by Siemens Industry and Siemens AG causing the meter

       testing company, Fluid Meter of Austin, Texas, to not share the results of its testing

       of the City’s existing water meters with the City;

(22)   the terms of the contract which bar recovery of lost profits or consequential damages,

       and which limit damages that can be awarded against the City;

(23)   waiver, laches, limitations, failure of consideration, setoff, unclean hands, mutual

       mistake, and unilateral mistake coupled with inequitable conduct; and


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        (24)    every matter that constitutes an avoidance or affirmative defense under rules 8(c) and

                12(b) of the Federal Rules of Civil Procedure.

        20.     The City specifically reserves the right to plead further, including to assert additional

affirmative defenses.

        WHEREFORE, the premises considered, the City of Monticello prays that Siemens

Industry’s First Amended Complaint, as well as its initial Complaint filed herein, be denied and

dismissed at its costs, and that it take nothing thereby; and that the City have and recover its attorney

fees, costs and all other proper relief.




                                    COUNTERCLAIM
                                       AGAINST
                           SIEMENS INDUSTRY AND SIEMENS AG

        Comes now the City of Monticello and makes and asserts the following Counterclaim against

Siemens Industry, Inc., and Siemens AG, pursuant to Fed. R. Civ. Proc. 13(a) & (g), 19 and 20, and

other applicable law, and in support thereof states as follows:

                                     Parties, Jurisdiction & Venue

        1.      The City of Monticello, Arkansas (herein “City”) is a municipality in the State of

Arkansas.

        2.      Siemens Industry, Inc. (herein “Siemens Industry”) is a Delaware corporation doing

business in the State of Arkansas.

        3.      Siemens AG (herein “Siemens AG”) is a German corporation with Registered Offices

in Berlin and Munich, Germany.


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       4.      Siemens Industry is a wholly owned subsidiary of Siemens AG.

       5.      On information and belief, Siemens Industry is controlled by Siemens AG.

       6.      On information and belief, Siemens AG is the sole beneficiary and recipient of the

revenues and profits generated by Siemens Industry.

       7.      On information and belief, Siemens Industry is the alter ego and a mere

instrumentality of Siemens AG in regards to the contract with the City, and, further, Siemens

Industry was acting as agent of Siemens AG in making the contract with the City, and in the

circumstances the separate corporate identity of Siemens Industry should be disregarded and pierced

to allow direct action against Siemens AG.

       8.      In the summer of 2011 representatives of Siemens AG and Siemens Industry solicited

the City to hire them to replace all of the City’s existing water meters and to replace part of the

City’s existing water mains/lines. Those representatives specifically informed the City’s governing

Council that Siemens was the fourth largest company in the world – an obvious reference to the

parent company Siemens AG.         Further, those representatives provided financial and other

information on Siemens AG, not Siemens Industry, to the City’s governing Council as part of their

said solicitation of the City. To close the deal, said representatives supplied the City’s governing

Council with a multi-page Powerpoint presentation, each page of which was clearly marked

“Siemens AG”, not Siemens Industry. However, through a sleight of hand or other fraud, and

through use of the deceptively similar name of Siemens Industry, the contract submitted by said

representative to the City and signed by the City listed Siemens Industry as the contractor, not the

4th largest company in the world – Siemens AG – that the City had been led to believe was the

company that was going to do the contracted work.


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       9.      Siemens AG is hereby joined as an additional counter-defendant to this Counterclaim

pursuant to Fed. R. Civ. Proc. 13(a) & (g), 19 and 20, and other applicable law.

       10.     This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C. §

1332 as a result of the complete diversity of citizenship of the parties and the amount in controversy

in excess of $75,000.00, exclusive of costs and interest. Further, this Court has supplemental

jurisdiction over Siemens AG under 28 U.S.C. § 1367(a) and other applicable law.

       11.     Venue is proper pursuant to 28 U.S.C. § 1391 and other applicable law.



                                  COUNT - I
                         CONTRACT IS ILLEGAL AND VOID
             FOR FAILURE TO COMPLY WITH COMPETITIVE BIDDING LAWS

       12.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

       13.     The construction work and material covered by the contract was not advertised for

bid, nor were bids for same solicited, and, consequently, the contract at issue in this case was

awarded in violation of applicable competitive bidding laws including, without limitation, the

provisions of Ark. Code Ann. §§ 14-58-303(b)(2)(A)(i) and 22-9-203(a). Further, no advertisement

or solicitation for bids contained the legally required statements encouraging participation of small,

minority and women’s business enterprises as required by Ark. Code Ann. § 22-9-203(I). The

contract is, therefore, illegal and void, and the City is entitled to recover judgment against Siemens

Industry and Siemens AG for return of the $6,724,912.93 advanced by the City to Siemens Industry

and Siemens AG relative to the contract, plus prejudgment and post judgment interest at the highest

rate provided by law.


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        14.     Although generally framed as a Qualified Efficiency Contract under the provisions

of Ark. Code Ann. § 14-164-401, et seq., which enjoys exemption from competitive bidding by Ark.

Code Ann. § 14-164-419(b), the contract at issue here fails to constitute a Qualified Efficiency

Contract exempt from competitive bidding because is fails to “contain” the financial assurances

relative to payment of promised/guaranteed efficiency savings as required by Ark. Code Ann. § 14-

164-402(15), and for the further reason that the promised/guaranteed efficiency savings are not

associated with or pledged as security for repayment of bonded indebtedness used to finance the

project, and for the further reason that despite demand for such statutorily required financial

assurances neither Siemens Industry nor Siemens AG have provided same to the City for the 10-year

life of the project.



                              COUNT – II
               CONTRACT IS ILLEGAL AND UNENFORCEABLE
   FOR FAILURE OF SIEMENS TO BE PROPERLY LICENSED BY THE ARKANSAS
  CONTRACTORS LICENSING BOARD TO PERFORM THE WORK COVERED BY THE
                              CONTRACT

        15.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

        16.     At the time it solicited the Contract and performed the installation of water meters

for the City, neither Siemens Industry, Siemens AG, nor their subcontractor possessed a Municipal

& Utility Construction classification contractors license.

        17.     At the time it solicited the Contract and performed the installation of the water meters

for the City, neither Siemens Industry, Siemens AG, nor their subcontractor were licensed in the

sub-classification specialty of Meter Installation and Service.


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       18.     On information and belief, the subcontractor employed by Siemens Industry to install

the water meters, Utility Metering Solutions, did not maintain at least one full-time employee

holding a Master Plumbers license on the City’s project to assure proper skills in performing and

maintaining the plumbing projects covered by the contract.

       19.     As a result of the facts alleged above, Siemens Industry and Siemens AG violated

Arkansas contracting law, Ark. Code Ann. § 17-25-101, et seq, and the rules and regulations

established by the Arkansas Contractors Licensing Board by engaging to perform the construction

work covered by the contract.

       20.     As a result of those violations, neither Siemens Industry nor Siemens AG are entitled

to receive any payment under the contract pursuant to Ark. Code Ann. § 17-25-103(d) and other

applicable law, and the City is entitled to recover the full $6,724,912.93 advanced by the City to

Siemens Industry and Siemens AG relative to the contract, plus prejudgment and post judgment

interest at the highest rate provided by law.



                                 COUNT – III
                 FRAUDULENT MISREPRESENTATION OF CONTRACTOR

       21.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

       22.     In their oral presentations, response to the Request for Qualifications submitted

December 19, 2012, and Powerpoint presentation given on May 16, 2013, representatives of

Siemens Industry and Siemens AG falsely represented to the City’s governing Council that the

contract would engage and be performed and backed by the financial strength and ability of the large

multi-national conglomerate corporation Siemens AG, not a Delaware corporation of still unknown

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financial strength that goes by the name Siemens Industry. Through use of the deceptively similar

names of Siemens Industry and Siemens AG, they secured a contract on which only Siemens

Industry was signed.

        23.    The representatives of Siemens Industry and Siemens AG made said representations

knowing or having reason to know them to be false as evidenced by their submission of the proposed

contract with only the name Siemens Industry thereon, and not including Siemens AG, all as part

of a trick on the City who was led from the beginning to believe that it was doing business with

Siemens AG.

        24.    These misrepresentations were intended to and did induce action by the City in

reliance on same, and said reliance was justifiable. Specifically, said misrepresentations caused the

City to believe that the full financial strength and ability of the multi-national conglomerate Siemens

AG would be standing behind the obligations imposed on the contractor by the terms of the contract,

including, without limitation, the obligation to pay any shortage in the efficiency savings promised

to the City by the terms of the contract.

        25.    On information and belief, the representatives making the solicitation of the City to

engage their companies to do the work covered by the contract were acting as agents of both

Siemens Industry and Siemens AG, and Siemens Industry was acting as agent for Siemens AG in

the matter, all of which makes Siemens AG vicariously liable for the misrepresentations made to the

City.

        26.    As a result of its reliance on said misrepresentations, the City was tricked into signing

the contract with Siemens Industry as opposed to Siemens AG. The City would not have knowingly

entered a contract for the $10 Million meter and water main/line projects with the likes of a


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Delaware corporation of unknown financial ability.

       27.     The above-described actions of Siemens Industry and Siemens AG constitute fraud

in the inducement and constructive fraud, and the Court should rescind the Contract between the

City and Siemens Industry, and require that Siemens Industry and Siemens AG return to the City

the $6,724,912.93 advanced by the City to Siemens Industry and Siemens AG relative to the

contract, plus prejudgment and post judgment interest at the highest rate provided by law. Further,

the City should be awarded a reasonable sum as punitive damages for this fraud to punish both

Siemens Industry and Siemens AG and to deter them and others from similar conduct in the future.



                                COUNT – IV
             FRAUDULENT MISREPRESENTATION OF METER TEST RESULTS

       28.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

       29.     During their solicitation of the City to engage them on the meter and water main/line

projects, the representatives of Siemens Industry and Siemens AG represented to the City that the

City’s existing water meters were only 53.58% accurate. That representation was false, and known

to be false by Siemens Industry and Siemens AG, and was made to induce the City to enter into a

$10 Million contract with them to replace all of the City’s existing water meters and to contract with

them to replace a part of the City’s existing water mains/lines. That was fraud in the inducement.

       30.     Siemens Industry and Siemens AG subsequently raised its representations relative

to the accuracy rate of the City’s existing water meters to 84.6%, but concealed from the City’s

governing Council that the most recent sampling and testing of the City’s existing water meters had

an accuracy rate of 95.2% for the obvious reason that such a good accuracy rate would reveal that

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replacement of the City’s existing water meters was not economically justified and should not be

done.

        31.    The City justifiably relied on said misrepresentations. Specifically, the City would

not have entered the contract had it known the truth about the accuracy of its existing water meters.

        32.    The above-described actions of Siemens Industry and Siemens AG constitute fraud

in the inducement and constructive fraud, and the Court should rescind the contract between the City

and Siemens Industry, and require that Siemens Industry and Siemens AG return to the City the

$6,724,912.93 advanced by the City to Siemens Industry and Siemens AG relative to the contract,

plus prejudgment and post judgment interest at the highest rate provided by law. Further, the City

should be awarded a reasonable sum as punitive damages for this fraud to punish both Siemens

Industry and Siemens AG and to deter them and others from similar conduct in the future.



                                 COUNT – V
                 BREACH OF CONTRACT – SUPPLY OF WRONG METERS

        33.    The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

        34.    Siemens Industry and Siemens AG breached the terms of the contract by furnishing

Sensus water meters instead of the Hersey water meters specified by the contract without a change

order as required by the contract.

        35.    Said breach of contract proximately caused damages to the City in that the Sensus

meters have not performed as the Hersey meters would have performed and are not equal or

equivalent to Hersey meters, there have been multiple failures of the Sensus meters to function and,

as a result, the City has had to expend considerable sums for repair and replacement of those non-

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functioning Sensus meters, for all of which the City should have judgment over and against Siemens

Industry and Siemens AG.



                                   COUNT – VI
                         BREACH OF CONTRACT/WARRANTY
                     IMPROPER INSTALLATION OF WATER METERS


       36.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

       37.     Over 1,231 of the approximately 4,300 water meters covered by the contract were

improperly installed by Siemens Industry and Siemens AG or were defective or damaged, all of

which resulted in leaks and other problems for the City and the personnel of its water department,

and which resulted in mud, dirt and sand being carried into the homes and businesses of the City’s

water customers, and which were all in violation of contract covenants and warranties relative to

meter installation including, without limitation, the express and implied covenants that the meter

installation work would be performed to standards of good workmanship.

       38.     Said breaches of contract/warranties proximately caused damages to the City in that

the City has had to expend considerable sums to deal with the repair of those improperly installed

and damaged meters, and for which the City should have judgment over and against Siemens

Industry and Siemens AG.



                                   COUNT – VII
                         BREACH OF CONTRACT/WARRANTY
                     IMPROPER INSTALLATION OF WATER METERS

       39.     The City incorporates and realleges the foregoing paragraphs, including those

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affirmative statements in the Answer, as if set out herein.

       40.     Siemens Industry and Siemens AG have breached the contract by not providing the

City with the written commitment of Sensus meter company that the specific Sensus water meters

are covered by warranty against defect.

       41.     A large number of failed Sensus meters have been pulled by the City and sent to

Sensus, but as yet Sensus has not acknowledged its warranty obligations on these defective meters

or to reimburse the City for its labor and the cost of replacement water meters.

       42.     The City should have judgment over and against Siemens Industry and Siemens AG

for all damages sustained by the City relative to said defective Sensus water meters.



                               COUNT – VIII
             BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

       43.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

       44.     Every contract contains an implied covenant of good faith and fair dealing. Siemens

Industry and Siemens AG have breached that covenant in many respects as outlined and delineated

hereinabove.

       45.     Further, that covenant of good faith and fair dealing has been breached by Siemens

Industry and Siemens AG by taking advantage of the confusion associated with the unexpected

death of Mayor Maxwell to extract many millions of dollars from the City before Mayor Maxwell

could even be laid to rest, and by supplying and installing thousands of Sensus water meters to the

City instead of the contract-specified Hersey meters.

       46.     Further, on information and belief, Siemens Industry and Siemens AG breached the

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covenant of good faith and fair dealing by stopping the meter testing company, Fluid Meter of

Austin, Texas, from providing copies of the results of its testing on the City’s existing water meters

to the City.

        47.     Siemens Industry and Siemens AG also breached the covenant of good faith and fair

dealing by falsely representing to the City that “Siemens stands behind the products it supplies”

when in truth and in fact the contract provided by them to the City expressly disclaims any warranty

on the products they supply.

        48.     The City should be awarded judgment against Siemens Industry and Siemens AG for

all damages sustained by the City as a result of their breach of the covenant of good faith and fair

dealing.



                                        COUNT – IX
                               IN THE ALTERNATIVE, MISTAKE

        49.     The City incorporates and realleges the foregoing paragraphs, including those

affirmative statements in the Answer, as if set out herein.

        50.     Pleading in the alternative, the City is entitled to rescission of the contract and

restitution of unearned City funds advanced to Siemens Industry and Siemens AG under the contract

based on mutual mistake of fact or unilateral mistake of fact coupled with inequitable conduct on

the part of Siemens Industry and Siemens AG relative to the identity of the contractor who is

obligated to perform the construction work at issue, and as to the true accuracy of the City’s existing

water meters.




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                     REQUEST FOR JUDGMENT AND OTHER RELIEF

       WHEREFORE, the premises considered, the City of Monticello, Arkansas, prays for

judgment herein as follows:

       1.        Declaratory Judgment declaring that the contract is illegal and void, and Ordering

return of all City funds paid to Siemens Industry and Siemens AG on the contract plus prejudgment

and postjudgment interest thereon at the highest rate provided by law, or a money judgment for same

against Siemens Industry and Siemens AG, jointly and severally;

       2.        Rescission of the contract and an Order requiring Siemens Industry and Siemens AG

to return all unearned City funds advanced to them plus prejudgment and postjudgment interest

thereon at the highest rate provided by law, or a money judgment for same against Siemens Industry

and Siemens AG, jointly and severally;

       3.        Judgment against Siemens Industry and Siemens AG for all damages sustained by

City as a result of their several breaches of contract;

       4.        Judgment against Siemens Industry and Siemens AG for all damages sustained by

the City as a result of the fraud practiced on the City by Siemens Industry and/or Siemens AG.

       5.        Judgment against Siemens Industry and Siemens AG for punitive damages to punish

Siemens Industry and Siemens AG for their reprehensible conduct in this matter, and to deter them

and others from engaging in such conduct in the future;

       6.        Judgment against Siemens Industry and Siemens AG for all attorneys fees and

litigation expenses and costs incurred by the City relative to said breaches of contract and other

claims herein;

       7.        And all other proper relief to which the City is justifiably entitled.


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                                DEMAND FOR JURY TRIAL

       The City of Monticello, Arkansas, respectfully demands that all issues and claims herein be

tried to and determined by a jury.




                                                     Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2015, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System which will send notification of such filing to the
following:

      Don S. McKinney
      Adams & Reese LLP
      don.mckinney@arlaw.com



                                                       /s/ C. C. Gibson, III
                                                       C. C. Gibson, III




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